                Case 1:16-cv-00745-ESH Document 85 Filed 03/28/18 Page 1 of 4



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

NATIONAL VETERANS LEGAL
SERVICES PROGRAM, NATIONAL
CONSUMER LAW CENTER, and
ALLIANCE FOR JUSTICE, for themselves
and all others similarly situated,
                        Plaintiffs,                      Case No. 16-745 (ESH)
        v.
UNITED STATES OF AMERICA,
               Defendant.

       PLAINTIFFS’ RESPONSE TO DEFENDANT’S SUPPLEMENTAL AUTHORITY
              1. At the hearing, the Court repeatedly asked the government to identify any case law

supporting its argument that, contrary to TVA v. Hill, 437 U.S. 153, 191 (1978), Appropriations

Committees may override statutory limits on the use of user fees. This question is important

because the AO has admitted that it uses PACER fees to fund services other than PACER and

has sought “expanded authority” from the Appropriations Committees for these otherwise

unauthorized expenditures. See Dkt. 81-1, at 27–28 (“Funds are used first to pay the expenses of

the PACER program. Funds collected above the level needed for the PACER program are then

used to fund other initiatives,” for which “[t]he Judiciary seeks this expanded authority[.]”). The

government even relies on hasty email exchanges with Committee staff as the sole evidence of

congressional approval for a given fiscal year. See Dkt. 81-1, at 50 (“We have no objection.”).

              Unable to locate even a single example of an Appropriations Committee providing the

requisite “expanded authority,” the government has now submitted examples of virtually every

other permutation: language that requires reporting on the use of funds (Exhibits A and B),

express limits on the use of funds (Exhibits C and D), general expressions of concern about the

use of funds (Exhibit E) and statements disapproving of agency proposals to create new user fees

(Exhibits F and G). It should come as no surprise that the government can’t find an example of
       	  
	                                                  1
	  
            Case 1:16-cv-00745-ESH Document 85 Filed 03/28/18 Page 2 of 4



the one thing that would matter: a committee expanding, on its own, existing statutory

limitations on the ability to impose user fees. No such example exists, of course, because

“substantive legislation [cannot be] undone by the simple—and brief—insertion of some

inconsistent language in Appropriations Committees’ Reports.” TVA, 437 U.S. at 191.

          2. The government cited a new case for the first time at oral argument, Rural Cellular Ass’n

v. FCC, 588 F.3d 1095 (D.C. Cir. 2009), to support its view that the AO enjoys “flexibility” to use

PACER fees for services other than PACER. But that case did not involve user fees at all. And

the Supreme Court’s user-fees cases supply a clear-statement rule that controls here: Because

only Congress may impose taxes, a user fee may not exceed the cost of providing the service

“inuring directly to the benefit” of the person who pays the fee—unless Congress has “indicate[d] clearly

its intention to delegate” its taxing power. Skinner v. Mid-Am. Pipeline Co., 490 U.S. 212, 224

(1989).

          The   government’s     contrary    argument      ignores    this   clear-statement    rule   and

misunderstands the very concept of a user fee. On its view, the user of one discrete service—for

example, a journalist or researcher who wishes to download a brief on PACER—may be lawfully

charged a fee that reimburses the cost of other services provided to other people: notices to bankruptcy

creditors; notifications for law enforcement agencies; case management and document filing

services for litigants and judges; and flat screens for jurors, to name just a few examples.

          That approach reads crucial language out of the statute—particularly the requirement

that “[a]ll fees … collected” for services listed in the prescribed “schedule of fees” shall be

collected “as a charge for services rendered” to the user “to reimburse expenses incurred in providing these

services.” 28 U.S.C. 1913 note. The “expenses incurred in providing these services,” as the AO fee

schedule and the 2002 E-Government Act’s text and history make clear, are the “marginal costs

of disseminating the information” to the user through PACER. Dkt. 52-5, at 6. The “marginal
     	  
	                                             2
	  
          Case 1:16-cv-00745-ESH Document 85 Filed 03/28/18 Page 3 of 4



costs” of operating PACER are the additional costs—on top of fixed costs for filing and storing

records—of providing copies (that is, PDF documents) of the filings to members of the public

upon request. Those costs do not include the costs of providing services to other groups of people,

or to the public more broadly. See Dkt. 52-8 & 52-9 (Senator Lieberman, the Act’s author,

explaining that the AO violates the Act by charging fees “well higher than the cost of dissemination”

rather than fees “used only to recover the direct cost of distributing documents on PACER”). The same

approach applies in the FOIA context, in which fees may be charged only for the “the direct costs

of search, duplication, or review,” 5 U.S.C. 552(a)(4)(A)(iv), which are defined by regulation as

“expenses that an agency incurs in searching for and duplicating … records in order to respond

to a FOIA request.” 28 C.F.R. § 16.10(b)(2). “Direct costs do not include overhead expenses such as the

costs of space, and of heating or lighting a facility.” Id.

        3. At the hearing, the Court recognized our position that discovery may help illuminate

whether any expenses attributed to CM/ECF are actually within the marginal cost of providing

records via PACER. See, e.g., Dkt 52-13, at 15:21–33. Because the motion now before the Court

concerns only whether the AO has violated the statute Act in any respect—not the extent of the

liability or damages—the Court may wish to defer this question until the next phase of litigation,

after discovery. For example, it may prove relevant that new features of NextGen CM/ECF—

developed during the class period—are extensively if not exclusively focused on needs of the

courts and litigants rather than PACER users. See Greenwood & Brinkema, E-Filing Case

Management Services in the US Federal Courts: The Next Generation, Int’l J. Court Admin (2015), at 8–10,

15–16, available at www.iacajournal.org (e.g., “access control”; “attorney services”; “calendars and

schedules”; “case processing/ management”; “chambers, courtroom, and judicial support”;

“data exchanges and case transfers”; “filing, e-forms, and e-file”; “legal research” for “judges and

law clerks”; and “reports, e-queries & e-analytics” for “for judges or chambers staff”).
     	  
	                                               3
	  
                Case 1:16-cv-00745-ESH Document 85 Filed 03/28/18 Page 4 of 4



                                                   Respectfully submitted,

                                                  /s/ Deepak Gupta
                                                  DEEPAK GUPTA
                                                  JONATHAN E. TAYLOR
                                                  GUPTA WESSLER PLLC
                                                  1900 L Street NW, Suite 312
                                                  Washington, DC 20036
                                                  Phone: (202) 888-1741
                                                  Fax: (202) 888-7792
                                                  deepak@guptawessler.com
                                                  jon@guptawessler.com

                                                  WILLIAM H. NARWOLD
                                                  MEGHAN S.B. OLIVER
                                                  ELIZABETH SMITH
                                                  MOTLEY RICE LLC
                                                  3333 K Street NW, Suite 450
                                                  Washington, DC 20007
                                                  Phone: (202) 232-5504
                                                  Fax: (202) 232-5513
                                                  bnarwold@motleyrice.com

March 28, 2018                                    Attorneys for Plaintiffs


                                      CERTIFICATE OF SERVICE

              I hereby certify that on March 28, 2018, I electronically filed this response through this

Court’s CM/ECF system. I understand that notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.

                                                   /s/ Deepak Gupta
                                                   Deepak Gupta




       	  
	                                                    4
	  
